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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

     DONNIE LEON POWELL,

                          Plaintiff,
                                                               CASE NO.
     vs.
                                                               JURY TRIAL DEMANDED
     MONSANTO COMPANY,

                          Defendant.

                                             COMPLAINT

           Plaintiff, by and through the undersigned attorneys, brings this action against the above-

 named Defendant and alleges as follows:

                                       NATURE OF THE CASE

       1.        This is an action for damages suffered by Plaintiff as a direct and proximate result of

Defendant’s negligent and wrongful conduct in connection with the design, development,

manufacture, testing, packaging, promoting, marketing, advertising, distribution, labeling, and/or sale

of the herbicide Roundup® (“Roundup®”), containing the active ingredient glyphosate.

       2.        Plaintiff maintains that Roundup® is defective, dangerous to human health, unfit and

unsuitable to be marketed and sold in commerce and lacked proper warnings and directions as to the

dangers associated with its use.

       3.        Plaintiff’s injuries—including massive, widespread Non-Hodgkin’s Lymphoma

diagnosed by the experts at MD Anderson medical center—like those striking thousands of similarly

situated victims across the country, were avoidable and caused by Defendant.
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                                   JURISDICTION AND VENUE

       4.      This Court has jurisdiction over Defendant and this action pursuant to 28 U.S.C. § 1332

because there is complete diversity of citizenship between Plaintiff and Defendant. Defendant is either

incorporated and/or has its principal place of business outside of Texas, in which the Plaintiff resides.

       5.      The amount in controversy between Plaintiff and Defendant exceeds $75,000,

exclusive of interest and costs.

       6.      The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       7.      Venue is proper within this district pursuant to 28 U.S.C. § 1391 in that Defendant

conducts business here and is subject to personal jurisdiction in this district, and Plaintiff purchased,

used, and was exposed to Roundup® in this district for decades. Furthermore, Defendant sells,

markets, and/or distributes Roundup® within this district and a substantial part of the acts and/or

omissions giving rise to these claims occurred within this district.

                                               PARTIES

       8.      Plaintiff Donnie Leon Powell is a resident and citizen of Texas.

       9.      Plaintiff brings this action for personal injuries sustained by exposure to Roundup®

containing the active ingredient glyphosate and the surfactant polyethoxylated tallow amine

(“POEA”). As a direct and proximate result of being exposed to Roundup®, Plaintiff was diagnosed

with Non-Hodgkin’s Lymphoma in June 2020.

       10.     “Roundup®” refers to all formulations of Defendant’s Roundup® products, including,

but not limited to, Roundup® Concentrate Poison Ivy and Tough Brush Killer 1, Roundup® Custom

Herbicide, Roundup® D-Pak herbicide, Roundup® Dry Concentrate, Roundup® Export Herbicide,

Roundup® Fence & Hard Edger 1, Roundup® Garden Foam Weed & Grass Killer, Roundup® Grass

and Weed Killer, Roundup® Herbicide, Roundup® Original 2k herbicide, Roundup® Original II

Herbicide, Roundup® Pro Concentrate, Roundup® Prodry Herbicide, Roundup® Promax, Roundup®
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Quik Stik Grass and Weed Killer, Roundup® Quikpro Herbicide, Roundup® Rainfast Concentrate

Weed & Grass Killer, Roundup® Rainfast Super Concentrate Weed & Grass Killer, Roundup®

Ready-to-Use Extended Control Weed & Grass Killer 1 Plus Weed Preventer, Roundup® Readyto-

Use Weed & Grass Killer, Roundup® Ready- to-Use Weed and Grass Killer 2, Roundup® Ultra Dry,

Roundup® Ultra Herbicide, Roundup® Ultramax, Roundup® VM Herbicide, Roundup® Weed &

Grass Killer Concentrate, Roundup® Weed & Grass Killer Concentrate Plus, Roundup® Weed &

Grass killer Ready-to-Use Plus, Roundup® Weed & Grass Killer Super Concentrate, Roundup®

Weed & Grass Killer Ready-to- Use, Roundup® WSD Water Soluble Dry Herbicide Deploy Dry

Herbicide, or any other formulation of containing the active ingredient glyphosate.

         11.   Defendant MONSANTO COMPANY is a Delaware corporation, with a principal place

of business in St. Louis, Missouri.

         12.   Defendant MONSANTO COMPANY is collectively referred to as “Monsanto” or

“Defendant.”

         13.   Defendant advertises and sells goods, specifically Roundup®, in the State of Texas.

         14.   Defendant transacted and conducted business within the State of Texas that relates to

the allegations in this Complaint.

         15.   Defendant derived substantial revenue from goods and products used in the State of

Texas.

         16.   Defendant expected or should have expected its acts to have consequences within the

State of Texas, and derived substantial revenue from interstate commerce.

         17.   Defendant engaged in the business of designing, developing, manufacturing, testing,

packaging, marketing, distributing, labeling, and/or selling Roundup®.

         18.   Defendant is authorized to do business in Texas and derive substantial income from

doing business in this state.
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       19.     Upon information and belief, Defendant purposefully availed itself of the privilege of

conducting activities with the State of Texas, thus invoking the benefits and protections of its laws.

       20.     Upon information and belief, Defendant did design, sell, advertise, manufacture and/or

distribute Roundup®, with full knowledge of its dangerous and defective nature.

                                     FACTUAL ALLEGATIONS

       21.     At all relevant times, Defendant was in the business of, and did, design, research,

manufacture, test, advertise, promote, market, sell, distribute, and/or has acquired and is responsible

for the commercial herbicide Roundup®.

       22.     Monsanto is a multinational agricultural biotechnology corporation based in St. Louis,

Missouri. It is the world’s leading producer of glyphosate.

       23.     Defendant discovered the herbicidal properties of glyphosate during the 1970’s and

subsequently began to design, research, manufacture, sell and distribute glyphosate-based

“Roundup®” as a broad-spectrum herbicide.

       24.     Glyphosate is the active ingredient in Roundup®.

       25.     Glyphosate is used to kill weeds and grasses known to compete with commercial crops

grown around the globe.

       26.     Glyphosate is a “non-selective” herbicide, meaning it kills indiscriminately based only

on whether a given organism produces a specific enzyme, 5-enolpyruvylshikimic acid-3- phosphate

synthase, known as EPSP synthase.

       27.     Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-phosphate synthase that

interferes with the shikimic pathway in plants, resulting in the accumulation of shikimic acid in plant

tissue and ultimately plant death.

       28.     Sprayed as a liquid, plants absorb glyphosate directly through their leaves, stems, and

roots, and detectable quantities accumulate in the plant tissues.
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           29.     Each year, approximately 250 million pounds of glyphosate are sprayed on crops,

commercial nurseries, suburban lawns, parks, and golf courses. This increase in use has been driven

largely by the proliferation of genetically engineered crops, crops specifically tailored to resist the

activity of glyphosate.

           30.     Defendant is intimately involved in the development, design, manufacture, marketing,

sale, and/or distribution of genetically modified (“GMO”) crops, many of which are marketed as being

resistant to Roundup i.e., “Roundup Ready®.” As of 2009, Defendant was the world’s leading

producer of seeds designed to be Roundup Ready®. In 2010, an estimated 70% of corn and cotton, and

90% of soybean fields in the United States contained Roundup Ready® seeds.

           31.     The original Roundup®, containing the active ingredient glyphosate, was introduced

in 1974. Today, glyphosate products are among the world’s most widely used herbicides.1

           32.     For nearly 40 years, consumers, farmers, and the public have used Roundup®, unaware

of its carcinogenic properties.

A.         Registration of Herbicides Under Federal Law

           33.     The manufacture, formulation and distribution of herbicides, such as Roundup®, are

regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7. U.S.C. § 136

et seq. FIFRA requires that all pesticides be registered with the Environmental Protection Agency

(“EPA) prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C. 136a(a).

           34.     The EPA requires as part of the registration process, among other requirements, a

variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non-target organisms, and other adverse effects on the environment. Registration by the EPA,

however, is not an assurance or finding of safety. The determination the EPA makes in registering or

re-registering a product is not that the product is “safe,” but rather that use of the product in accordance


1
    Backgrounder, History of Monsanto’s Glyphosate Herbicides, June 2005.
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with its label directions “will not generally cause unreasonable adverse effects on the environment.”

7 U.S.C. § 136a(c)(5)(D).

       35.     FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus requires

the EPA to make a risk/benefit analysis in determining whether a registration should be granted or

allowed to continue to be sold in commerce.

       36.     The EPA and the State of Texas registered Roundup® for distribution, sale, and

manufacture in the United States and the State of Texas.

       37.     FIFRA generally requires that the registrant, Monsanto, conduct health and safety

testing of pesticide products. The government is not required, nor is it able, to perform the product tests

that are required of the manufacturer.

       38.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide products

through a Congressionally mandated process called “re-registration.” 7 U.S.C. § 136a-1. In order to

reevaluate these pesticides, the EPA demands the completion of additional tests and the submission of

data for the EPA’s review and evaluation.

B.     IARC Classification of Glyphosate

       39.     The International Agency for Research on Cancer (“IARC”) is the specialized

intergovernmental cancer agency the World Health Organization (“WHO”) of the United Nations

tasked with conducting and coordinating research into the causes of cancer.

       40.     An IARC Advisory Group to Recommend Priorities for IARC Monographs during

2015–2019 met in April 2014. Though nominations for the review were solicited, a substance must meet
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two criteria to be eligible for review by the IARC Monographs: there must already be some evidence

of carcinogenicity of the substance, and there must be evidence that humans are exposed to the

substance.

          41.   IARC set glyphosate for review in 2015-2016. IARC uses five criteria for determining

priority in reviewing chemicals. The substance must have a potential for direct impact on public health;

scientific literature to support suspicion of carcinogenicity; evidence of significant human exposure;

high public interest and/or potential to bring clarity to a controversial area and/or reduce public anxiety

or concern; related agents similar to one given high priority by the above considerations. Data

reviewed is sourced preferably from publicly accessible, peer- reviewed data.

          42.   On March 24, 2015, after its cumulative review of human, animal, and DNA studies for

more than one (1) year, many of which have been in Defendant’s possession since as early as 1985,

the IARC’s working group published its conclusion that the glyphosate contained in Defendant’s

Roundup® herbicide, is a Class 2A “probable carcinogen” as demonstrated by the mechanistic

evidence of carcinogenicity in humans and sufficient evidence of carcinogenicity in animals.

          43.   The IARC’s full Monograph was published on July 29, 2015 and established

glyphosate as a class 2A probable carcinogen to humans. According to the authors glyphosate

demonstrated sufficient mechanistic evidence (genotoxicity and oxidative stress) to warrant a 2A

classification based on evidence of carcinogenicity in humans and animals.

          44.   The IARC Working Group found an increased risk between exposure to glyphosate and

Non-Hodgkin’s Lymphoma (“NHL”) and several subtypes of NHL, and the increased risk continued

after adjustment for other pesticides.

          45.   The IARC also found that glyphosate caused DNA and chromosomal damage in human

cells.
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C.       Evidence of Carcinogenicity and Genotoxicity in Roundup

         46.      Despite the new classification by the IARC, Defendant has had ample evidence of

glyphosate and Roundup’s carcinogenic2 and genotoxic3 properties since as early as the 1980s.

         47.      On March 4, 1985, a group of the EPA’s Toxicology Branch published a memorandum

classifying glyphosate as a “Category C oncogene.”4 Category C oncogenes are possible human

carcinogens with limited evidence of carcinogenicity.

         48.      In 1986, the EPA issued a Registration Standard for glyphosate (NTIS PB87- 103214).

The Registration Standard required additional phytotoxicity, environmental fate, toxicology, product

chemistry, and residue chemistry studies. All of the data required was submitted and reviewed and/or

waived.5

         49.      In October 1991 the EPA published a Memorandum entitled “Second Peer Review of

Glyphosate.” The memorandum changed glyphosate’s classification to Group E (evidence of non-

carcinogenicity for humans). Two peer review committee members did not concur with the

conclusions of the committee and one member refused to sign.6

         50.      Despite the EPA’s classification change, both human and animal studies have

continued to demonstrate that glyphosate and glyphosate-based foundations such as Roundup® were

genotoxic and could induce carcinogenesis.

         51.      In 1997, Chris Clements published “Genotoxicity of select herbicides in Rana

catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis (comet) assay.” The study



2
  Carcinogenicity in a chemical agent is a chemical property which promotes carcinogenesis, the formation of cancerous
cells. Chemicals containing this property are referred to as carcinogens.
3
  Genotoxicity is a property of chemical agents that refers to their capacity to damage the DNA within a cell through
genetic mutations, which is a process that is believed to substantially increase the likelihood of carcinogenesis and lead
to cancer. Chemicals containing this property are referred to as genotoxins.
4
  Consensus Review of Glyphosate, Casewell No. 661A. March 4, 1985. United States Environmental Protection
Agency
5
  https://archive.epa.gov/pesticides/reregistration/web/pdf/0178fact.pdf.
6
  Second Peer Review of Glyphosate, CAS No. 1071-83-6. October 30, 1991. United States Environmental Protection
Agency, https://archive.org/details/SecondPeerReviewOfGlyphosateEPAOct301991/page/n1.
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found that tadpoles exposed to Roundup® showed significant DNA damage when compared with

unexposed control animals.7

        52.     In 2006 César Paz-y-Miño published a study examining DNA damage in human

subjects exposed to glyphosate. The study produced evidence of chromosomal damage in blood cells

showing significantly greater damage after exposure to glyphosate than before in the same individuals,

suggesting that the glyphosate formulation used during aerial spraying had a genotoxic effect on

exposed individuals.8

        53.     In addition to the toxicity of the active molecule, many studies support the hypothesis

that glyphosate formulations found in Defendant’s Roundup® products are more dangerous and toxic

than glyphosate alone.9 As early as 1991 evidence existed demonstrating that glyphosate formulations

were significantly more toxic than glyphosate alone.10

        54.     In 2002, Julie Marc published a study entitled “Pesticide Roundup Provokes Cell

Division Dysfunction at the Level of CDK1/Cyclin B Activation.”11

        55.     The study found that Defendant’s Roundup® caused delays in the cell cycles of sea

urchins, while the same concentrations of glyphosate alone proved ineffective and did not alter cell

cycles. The study results caused the authors to question the safety of Roundup® on human health.12

        56.     In 2004, Julie Marc published a second study entitled “Glyphosate-based pesticides

affect cell cycle regulation.” The study demonstrated a molecular link between glyphosate-based

products and cell cycle dysregulation.13


7
  https://www.ncbi.nlm.nih.gov/pubmed/9142171.
8
  http://www.scielo.br/scielo.php?script=sci_arttext&pid=S1415-47572007000300026.
9
  Martinez et al. 2007, https://www.ncbi.nlm.nih.gov/pubmed/17933590; Benachour 2009,
https://www.ncbi.nlm.nih.gov/pubmed/19105591;Gasnier et al. 2009,
https://www.researchgate.net/publication/26304486_Glyphosate-
based_herbicides_are_toxic_and_endocrine_disruptors_in_human_cell_lines; Peixoto 2005,
https://www.ncbi.nlm.nih.gov/pubmed/16263381; Marc 2004, https://www.ncbi.nlm.nih.gov/pubmed/15694458.
10
   Martinez et al 1991, https://www.ncbi.nlm.nih.gov/pubmed/1788325.
11
   https://www.ncbi.nlm.nih.gov/pubmed/11896679.
12
   Id.
13
   https://www.ncbi.nlm.nih.gov/pubmed/15182708.
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        57.     The study noted that “cell-cycle dysregulation is a hallmark of tumor cells and human

cancer. Failure in the cell-cycle checkpoints leads to genomic instability and subsequent development

of cancers from the initial affected cell.”14

        58.     In 2005, Francisco Peixoto published a study showing that Roundup’s effects on rat

liver mitochondria are much more toxic and harmful than the same concentrations of glyphosate alone.15

        59.     The Peixoto study suggested that the harmful effects of Roundup® on mitochondrial

bioenergetics could not be exclusively attributed to glyphosate and could be the result of other

chemicals, or alternatively due to the possible synergy between glyphosate and Roundup®

formulation products.

        60.     In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining the

effects of Roundup® and glyphosate on human umbilical, embryonic, and placental cells.16

        61.     The study suggested that determinations of glyphosate toxicity should take into account

the presence of adjuvants, or those chemicals used in the formulation of the complete pesticide. The

study confirmed that Roundup® was in all instances more toxic than its active ingredient, glyphosate,

suggesting a synergistic effect provoked by the adjuvants present in Roundup®.

        62.     The results of these studies were confirmed in recently published peer-reviewed studies

and were at all times available and/or known to Defendant.

        63.     In spite of this knowledge, Defendant has continued to issue broad and sweeping

statements suggesting that Roundup® was, and is, safer than ordinary household items such as table

salt, despite a lack of scientific support for the accuracy and validity of these statements and, in fact,

voluminous evidence to the contrary.




14
   Id.
15
   https://www.ncbi.nlm.nih.gov/pubmed/16263381.
16
   https://www.ncbi.nlm.nih.gov/pubmed/17486286.
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D.      Scientific Fraud Underlying the Safety Determinations of Glyphosate

        64.      After the EPA’s 1985 classification of glyphosate as possibly carcinogenic to humans

(Group C), Monsanto exerted pressure upon the EPA to change its classification.

        65.      This culminated in the EPA’s reclassification of glyphosate to Group E, which was

based upon evidence of non-carcinogenicity in humans.

        66.      In so classifying, the EPA stated that “[i]t should be emphasized, however, that

designation of an agent in Group E is based on the available evidence at the time of evaluation and

should not be interpreted as a definitive conclusion that the agent will not be a carcinogen under any

circumstances.”.17

        67.      On two occasions, the EPA found that laboratories hired by Monsanto to test the

toxicity of its Roundup® products for registration purposes committed scientific fraud.

        68.      In the first instance, Monsanto hired Industrial Bio-Test Laboratories (“IBT”) to

perform and evaluate pesticide toxicology studies relating to Roundup®. IBT performed

approximately 30 tests on glyphosate and glyphosate-containing products, including 11 of the 19

chronic toxicology studies needed to register Roundup® with the EPA.

        69.      In 1976, the Food and Drug Administration (“FDA”) performed an inspection of IBT.

The inspection revealed shocking results. Fabrication of data, removal of health effect findings from

reports, replacement of dead study animals with healthy ones, and changes in report conclusions to

make them look more favorable were repeated occurrences at IBT.18 The FDA inspection also

discovered discrepancies between the raw data and the final report relating to toxicological impacts

of pesticides including glyphosate. The EPA subsequently audited IBT and determined that the




17
   Second Peer Review of Glyphosate, CAS No. 1071-83-6. October 30, 1991. United States Environmental Protection
Agency, https://archive.org/details/SecondPeerReviewOfGlyphosateEPAOct301991/page/n1.
18
   History of FDA Good Laboratory Practices, Quality Assurance Journal 2003, 7, 157-161,
https://onlinelibrary.wiley.com/doi/pdf/10.1002/qaj.228.
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toxicology studies conducted for Roundup® were invalid.19 An EPA reviewer stated, after finding

“routine falsification of data” at IBT, that it was “hard to believe the scientific integrity of the studies

when they said they took specimens of the uterus from male rabbits.”

        70.      Three top executives of IBT were convicted of fraud in 1983.

        71.      In the second incident, the EPA was alerted in 1990 that another laboratory hired by

Monsanto to conduct studies of its pesticide, Craven Laboratories (“Craven”), also had irregularities

in its testing.20 After an investigation, the EPA alleged that Craven employed a variety of “tricks”

including “falsifying laboratory notebook entries” and “manually manipulating scientific equipment

to produce false reports.” The falsified studies included Roundup® residue studies on plums, potatoes,

grapes and sugarbeets.21

        72.      In 1994, the laboratory owner and fourteen other employees received punishments

ranging from fines to prison terms for their roles in falsifying these pesticide studies. 22

E.      Monsanto’s False Representations Regarding the Safety of Roundup

        73.      In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against Monsanto

based on its false and misleading advertising of Roundup® products. Specifically, the lawsuit

challenged Monsanto’s general representations that its spray-on glyphosate-based herbicides,

including Roundup®, were “safer than table salt” and “practically non-toxic” to mammals, birds,

and fish. Among the representations the NYAG found deceptive and misleading about the human and

environmental safety of Roundup® are the following:

                 a.       “Remember that environmentally friendly Roundup herbicide is biodegradable.
                          It won’t build up in the soil so you can use Roundup with confidence along
                          customers’ driveways, sidewalks and fences.”




19
   Backgrounder – Testing Fraud: IBT and Craven Laboratories, June 2005.
20
   Id.
21
   Herbicide Factsheet, Glyphosate (Roundup), Journal of Pesticide Reform/Fall 1998, Vol. 18, No. 3, at 9.
22
   Backgrounder – Testing Fraud: IBT and Craven Laboratories, June 2005.
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                b.       “And remember that Roundup is biodegradable and won’t build up in the soil.
                         That will give you the environmental confidence you need to use Roundup
                         everywhere you’ve got a weed, brush, edging or trimming problem.”

                c.       “Roundup biodegrades into naturally occurring elements.”

                d.       “Remember that versatile Roundup herbicide stays where you put it. That
                         means there’s no washing or leaching to harm customers’ shrubs or other
                         desirable vegetation.”

                e.       “This non-residual herbicide will not wash or leach in the soil. It . . .

                f.       stays where you apply it.”

                g.       “You can apply Accord with confidence because it will stay where you put it.
                         It bonds tightly to soil particles, preventing leaching. Then, soon after
                         application, soil microorganisms biodegrade Accord into natural products.”

                h.       “Glyphosate is less toxic to rats than table salt following acute oral ingestion.”

                i.       “Glyphosate’s safety margin is much greater than required. It has over a 1,000-
                         fold safety margin in food and over a 700-fold safety margin for workers who
                         manufacture it or use it.”

                j.       “You can feel good about using herbicides by Monsanto. They carry a toxicity
                         category rating of ‘practically non-toxic’ as it pertains to mammals, birds and
                         fish.”

                k.       “Roundup can be used where kids and pets will play and breaks down into
                         natural material.” This ad depicts a person with his head in the ground and a
                         pet dog standing in an area which has been treated with Roundup.23

        74.     On November 19, 1996, Monsanto entered into an Assurance of Discontinuance with

NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing or

broadcasting any advertisements [in New York] that represent, directly or by implication” that:

                a.       its glyphosate-containing pesticide products or any component thereof are safe,
                         non-toxic, harmless or free from risk.

                b.       its glyphosate-containing pesticide products or any component thereof
                         manufactured, formulated, distributed or sold by Monsanto are biodegradable.




23
  Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance of Discontinuance
Pursuant to Executive Law § 63(15) (Nov. 1996).
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                c.      its glyphosate-containing pesticide products or any component thereof stay
                        where they are applied under all circumstances and will not move through the
                        environment by any means.

                d.      its glyphosate-containing pesticide products or any component thereof are
                        “good” for the environment or are “known for their environmental
                        characteristics.”

                e.      glyphosate-containing pesticide products or any component thereof are safer or
                        less toxic than common consumer products other than herbicides;

                f.      its glyphosate-containing products or any component thereof might be
                        classified as “practically non-toxic.”

        75.     Monsanto did not alter its advertising in the same manner in any state other than New

York, and on information and belief still has not done so today.

        76.     In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup®. The French court affirmed an earlier judgment that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”24

F.      Monsanto’s Continuing Disregard for the Safety of Plaintiff and the Public

        77.     Despite the repeated concerns expressed by the scientific community and

governmental entities, Monsanto continued to represent to the public that “[r]egulatory authorities and

independent experts around the world have reviewed numerous long-term/carcinogenicity and

genotoxicity studies and agree that there is no evidence that glyphosate, the active ingredient in

Roundup® brand herbicides and other glyphosate-based herbicides, causes cancer, even at very high

doses, and that it is not genotoxic.”25

        78.     Ironically, the primary source for this statement is a 1986 report by the WHO, the same

organization that now considers glyphosate to be a probable carcinogen.




 24
    Monsanto Guilty in ‘False Ad’ Row, BBC, Oct. 15, 2009, available at
http://news.bbc.co.uk/2/hi/europe/8308903.stm.
25
   Backgrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014.
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        79.    Glyphosate, and Defendant’s Roundup® products in particular, have long been

associated with serious side effects and many regulatory agencies around the globe have banned or

are currently banning the use of glyphosate herbicide products.

        80.    Despite Defendant’s knowledge that Roundup® was associated with an elevated risk

of developing cancer, Defendant’s promotional campaigns focused on Roundup’s purported “safety

profile” with the intent that consumers believe that Roundup® was safe for use.

G.      Plaintiff’s Exposure to Roundup

        81.    Despite Defendant’s knowledge that Roundup® was associated with an elevated risk

of developing cancer, Defendant’s promotional campaigns focused on Roundup’s purported “safety

profile.”

        82.    Upon information and belief, these statements and representations about the safety of

Roundup® were made with the intent of inducing Plaintiff, the agricultural community, and the public

at large to purchase, and increase the use of, Defendant’s Roundup® for Defendant’s pecuniary gain.

        83.    Defendant’s statements proclaiming the safety of Roundup® and disregarding its

dangers misled Plaintiff.

        84.    Defendant’s statements resulted in (1) Plaintiff using and being exposed to glyphosate

instead of using another acceptable and safe method of controlling unwanted weeds and pests; and (2)

scientists and physicians failing to warn and instruct consumers about the risk of cancer, including

NHL, and other injuries associated with Roundup®.

        85.    Defendant failed to seek modification of the labeling of Roundup® to include relevant

information regarding the risks and dangers associated with Roundup® exposure.

        86.    Unaware of these risks, Plaintiff Donnie Leon Powell used Roundup® to control weeds

on his owned and leased farms and on the grounds of his home and property beginning in
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approximately 1975 and continued to use it on his acreages surrounding two subsequent homes until

his diagnosis of Non-Hodgkin’s Lymphoma in June 2020.

           87.     For years, Plaintiff sprayed and applied Roundup® on a regular basis. Plaintiff

followed all safety and precautionary warnings during the course of use.

           88.     Plaintiff was subsequently diagnosed with Non-Hodgkin’s Lymphoma on June 30,

2020.

           89.     By reason of the foregoing, Plaintiff is severely and permanently injured. As a result of

Defendant’s actions and/or omissions, Plaintiff has incurred and will continue to incur significant

medical expenses, pain and suffering, emotional and mental anguish, and other associated economic

and noneconomic damages.

             EQUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

           90.     Plaintiff incorporate by reference all previous paragraphs of this Complaint as if fully

set forth herein and further allege as follows:

           91.     The running of any statute of limitations has been tolled by reason of Defendant’s

fraudulent concealment. Defendant, through its affirmative misrepresentations and omissions, actively

concealed from Plaintiff the true risks associated with Roundup® and glyphosate.

           92.     At all relevant times, Defendant has maintained that Roundup® is safe, non-toxic, and

non-carcinogenic.

           93.     Indeed, even as of July 2016, Defendant continued to represent to the public that

“Regulatory authorities and independent experts around the world have reviewed numerous long-

term/carcinogenicity and genotoxicity studies and agree that there is no evidence that glyphosate, the

active ingredient in Roundup® brand herbicides and other glyphosate-based herbicides, causes cancer,

even at very high doses, and that it is not genotoxic.”26


26
     Backgrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014.
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        94.     As a result of Defendant’s actions, Plaintiff was unaware, and could not reasonably

know or have learned through reasonable diligence that Roundup® and/or glyphosate contact, exposed

Plaintiff to the risks alleged herein and that those risks were the direct and proximate result of

Defendant’s acts and omissions.

        95.     Furthermore, Defendant is estopped from relying on any statute of limitations because

of its fraudulent concealment of the true character, quality and nature of Roundup®.

        96.     Defendant was under a duty to disclose the true character, quality, and nature of

Roundup® because this was non-public information over which Defendant had and continues to have

exclusive control, and because Defendant knew that this information was not available to Plaintiff or

to distributors of Roundup®. In addition, Defendant is estopped from relying on any statute of

limitations because of its intentional concealment of these facts.

        97.     Plaintiff had no knowledge that Defendant was engaged in the wrongdoing alleged

herein. Because of the fraudulent acts of concealment of wrongdoing by Defendant, Plaintiff could not

have reasonably discovered the wrongdoing at any time prior. Also, the economics of this fraud should

be considered. Defendant had the ability to and did spend enormous amounts of money in furtherance

of its purpose of marketing, promoting and/or distributing a profitable herbicide, notwithstanding the

known or reasonably known risks. Plaintiff and medical professionals could not have afforded and

could not have possibly conducted studies to determine the nature, extent, and identity of related health

risks, and were forced to rely on only the Defendant’s representations. Accordingly, Defendant is

precluded by the discovery rule and/or the doctrine of fraudulent concealment from relying upon any

statute of limitations.

                                  FIRST CAUSE OF ACTION:
                             STRICT LIABILITY (DESIGN DEFECT)

        98.     Plaintiff incorporates by reference all previous paragraphs of this Complaint as if fully

set forth herein and further allege as follows:
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       99.     Plaintiff brings this strict liability claim against Monsanto for defective design.

       100.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, manufacturing, selling, distributing, and engaged in the marketing, packaging design, and

promotion of Roundup® products, which are defective and unreasonably dangerous to consumers,

including Plaintiff, thereby placing Roundup® products into the stream of commerce. These actions

were under the ultimate control and supervision of Monsanto. At all times relevant to this litigation,

Monsanto designed, researched, developed, manufactured, produced, tested, assembled, labeled,

advertised, promoted, marketed, sold, and distributed the Roundup® products used by the Plaintiff, as

described above.

       101.    At all times relevant to this litigation, Roundup® products were manufactured,

designed, and labeled in an unsafe, defective, and inherently dangerous manner that was dangerous for

use by or exposure to the public, and, in particular, the Plaintiff.

       102.    At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in

Texas and throughout the United States, including Plaintiff, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, and marketed by Monsanto.

       103.    Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in

design and formulation in that when they left the hands of the manufacturers and/or suppliers, they were

unreasonably dangerous and dangerous to an extent beyond that which an ordinary consumer would

contemplate.

       104.    Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in
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design and formulation in that when they left the hands of the manufacturers and/or suppliers, the

foreseeable risks exceeded the alleged benefits associated with their design and formulation.

       105.    At all times relevant to this action, Monsanto knew or had reason to know that

Roundup® products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Monsanto.

       106.    Therefore, at all times relevant to this litigation, Roundup® products, as researched,

tested, developed, designed, licensed, manufactured, packaged, labeled, distributed, sold and marketed

by Monsanto were defective in design and formulation, in one or more of the following ways:

               a.     When placed in the stream of commerce, Roundup® products were defective
                      in design and formulation, and, consequently, dangerous to an extent beyond
                      that which an ordinary consumer would contemplate.

               b.     When placed in the stream of commerce, Roundup® products were
                      unreasonably dangerous in that they were hazardous and posed a grave risk of
                      cancer and other serious illnesses when used in a reasonably anticipated
                      manner.

               c.     When placed in the stream of commerce, Roundup® products contained
                      unreasonably dangerous design defects and were not reasonably safe when used
                      in a reasonably anticipated or intended manner.

               d.     Monsanto did not sufficiently test, investigate, or study Roundup® products
                      and, specifically, the active ingredient glyphosate.

               e.     Exposure to Roundup® and glyphosate-containing products presents a risk of
                      harmful side effects that outweigh any potential utility stemming from the use
                      of the herbicide.

               f.     At the time of marketing its Roundup® products, Roundup® was defective in
                      that exposure to Roundup® and specifically, its active ingredient glyphosate,
                      could result in cancer and other severe illnesses and injuries.

               g.     Monsanto did not conduct adequate post-marketing surveillance of its
                      Roundup® products.

               h.     Monsanto could have employed safer alternative designs and formulations.

               i.     Monsanto did not conduct adequate post-marketing surveillance of its
                      Roundup® products.

               j.     Monsanto could have employed safer alternative designs and formulations.
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       107.    Plaintiff Donnie Leon Powell was exposed to Roundup® products in the maintenance

of his farms (owned and leased), home and property, as described above, without knowledge of their

dangerous characteristics.

       108.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use of

Roundup® products in an intended or reasonably foreseeable manner without knowledge of their

dangerous characteristics.

       109.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of exposure.

       110.    The harm caused by Roundup® products far outweighed their benefit, rendering these

products dangerous to an extent beyond that which an ordinary consumer would contemplate.

       111.    Roundup® products were and are more dangerous than alternative products and

Monsanto could have designed Roundup® products (including their packaging and sales aids) to make

them less dangerous. Indeed, at the time that Monsanto designed Roundup® products, the state of the

industry’s scientific knowledge was such that a less risky design or formulation was attainable.

       112.    At the time Roundup® products left Monsanto’s control, there was a practical,

technically feasible and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of those herbicides.

       113.    Monsanto’s defective design of Roundup® products was willful, wanton, fraudulent,

malicious, and conducted with reckless disregard for the health and safety of users of the Roundup®

products, including the Plaintiff herein.

       114.    Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Monsanto is strictly liable to Plaintiff.
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        115.     The defects in Roundup® products caused or contributed to cause Plaintiff’s grave

injuries, and, but for Monsanto’s misconduct and omissions, Plaintiff would not have sustained his

injuries.

        116.     Monsanto’s conduct, as described above, was reckless. Monsanto risked the lives of

consumers and users of its products, including Plaintiff, with knowledge of the safety problems

associated with Roundup® and glyphosate-containing products, and suppressed this knowledge from

the general public. Monsanto made conscious decisions not to redesign, warn or inform the

unsuspecting public. Monsanto’s reckless conduct warrants an award of aggravated damages.

        117.     As a direct and proximate result of Monsanto placing defective Roundup® products into

the stream of commerce, Plaintiff has suffered and continue to suffer grave injuries, and have endured

physical pain and discomfort, as well as economic hardship, including considerable financial expenses

for medical care, and treatment.

            WHEREFORE, Plaintiff prays for judgment against Defendant in such sum as is fair and

 reasonable, including:

                 (i)     Awarding compensatory damages in excess of the jurisdictional amount,
                         including, but not limited to pain, suffering, emotional distress, loss of
                         enjoyment of life, loss of consortium, and other noneconomic damages in an
                         amount to be determined at trial of this action;

                 (ii)    Awarding compensatory damages to Plaintiff for past and future damages,
                         including, but not limited to, Plaintiff’s pain and suffering and for severe and
                         permanent personal injuries sustained by the Plaintiff including health care
                         costs and economic loss;

                 (iii)   Awarding economic damages in the form of medical expenses, out of pocket
                         expenses, lost earnings and other economic damages in an amount to be
                         determine at trial of this action;

                 (iv)    Awarding punitive damages in an amount sufficient to both punish Defendant
                         for its misconduct and to deter such actions in the future;

                 (v)     Awarding pre-judgment interest;

                 (vi)    Awarding post-judgment interest;
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               (vii)   Awarding Plaintiff their reasonable attorney fees;

               (viii) Awarding Plaintiff the costs of these proceedings; and

               (ix)    Awarding Plaintiff such other and future relief as this Court deems just and
                       proper.

                                SECOND CAUSE OF ACTION:
                           STRICT LIABILITY (FAILURE TO WARN)

       118.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if fully

set forth herein and further allege as follows:

       119.    Plaintiff brings this strict liability claim against Monsanto for failure to warn.

       120.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®

products, which are defective and unreasonably dangerous to consumers, including Plaintiff, because

they do not contain adequate warnings or instructions concerning the dangerous characteristics of

Roundup® and specifically, the active ingredient glyphosate. These actions were under the ultimate

control and supervision of Monsanto.

       121.    Monsanto researched, developed, designed, tested, manufactured, inspected, labeled,

distributed, marketed, promoted, sold, and otherwise released into the stream of commerce Roundup®

products, and in the course of same, directly advertised or marketed the products to consumers and

end users, including the Plaintiff, and therefore had a duty to warn of the risks associated with the use

of Roundup® and glyphosate-containing products.

       122.    At all times relevant to this litigation, Monsanto had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain supply,

provide proper warnings, and take such steps as necessary to ensure that Roundup® products did not

cause users and consumers to suffer from unreasonable and dangerous risks. Monsanto had a

continuing duty to warn the Plaintiff of the dangers associated with Roundup® use and exposure.
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       123.    Monsanto, as manufacturer, seller, promoter, marketer, or distributor of chemical

herbicides are held to the knowledge of an expert in the field.

       124.    At the time of manufacture, Monsanto could have provided the warnings or instructions

regarding the full and complete risks of Roundup® and glyphosate-containing products because they

knew or should have known of the unreasonable risks of harm associated with the use of and/or

exposure to such products.

       125.    At all times relevant to this litigation, Monsanto failed to investigate, study, test, or

promote the safety or to minimize the dangers to users and consumers of its product and to those who

would foreseeably use or be harmed by these herbicides, including Plaintiff.

       126.    Despite the fact that Monsanto knew or should have known that Roundup® posed a

grave risk of harm, it failed to exercise reasonable care to warn of the dangerous risks associated with

use and exposure. The dangerous propensities of these products and the carcinogenic characteristics

of glyphosate, as described above, were known to Monsanto, or scientifically knowable to Monsanto

through appropriate research and testing by known methods, at the time they distributed, marketed,

promoted, supplied or sold the product, and not known to end users and consumers, such as Plaintiff.

       127.    These products created significant risks of serious bodily harm to consumers, as alleged

herein, and Monsanto failed to adequately warn consumers and reasonably foreseeable users of the

risks of exposure to its products. Monsanto has wrongfully concealed information concerning the

dangerous nature of Roundup® and its active ingredient glyphosate, and further made false and/or

misleading statements concerning the safety of Roundup® and glyphosate.

       128.    At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in Texas and

throughout the United States, including Plaintiff, without substantial change in their condition as

designed, manufactured, sold, distributed, labeled, promoted and marketed by Monsanto.
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        129.       Plaintiff Donnie Leon Powell was exposed to Roundup® products in the maintenance

of his farms (owned and leased), home and property, without knowledge of their dangerous

characteristics.

        130.       At all times relevant to this litigation, Plaintiff used and/or was exposed to the use of

Roundup® products in their intended or reasonably foreseeable manner without knowledge of their

dangerous characteristics.

        131.       Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products prior to or at the time of Plaintiff’s exposure. Plaintiff

relied upon the skill, superior knowledge, and judgment of Monsanto.

        132.       These products were defective because the minimal warnings disseminated with

Roundup® products were inadequate, and they failed to communicate adequate information on the

dangers and safe use/exposure and failed to communicate warnings and instructions that were

appropriate and adequate to render the products safe for their ordinary, intended and reasonably

foreseeable uses, including agricultural and landscaping applications.

        133.       The information that Monsanto did provide or communicate failed to contain relevant

warnings, hazards, and precautions that would have enabled consumers such as Plaintiff to utilize the

products safely and with adequate protection. Instead, Monsanto disseminated information that was

inaccurate, false, and misleading and which failed to communicate accurately or adequately the

comparative severity, duration, and extent of the risk of injuries with use of and/or exposure to

Roundup® and glyphosate; continued to aggressively promote the efficacy of its products, even after

it knew or should have known of the unreasonable risks from use or exposure; and concealed,

downplayed, or otherwise suppressed, through aggressive marketing and promotion, any information

or research about the risks and dangers of exposure to Roundup® and glyphosate.
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       134.      To this day, Monsanto has failed to adequately and accurately warn of the true risks of

Plaintiff’s injuries associated with the use of and exposure to Roundup® and its active ingredient

glyphosate, a probable carcinogen.

       135.      As a result of their inadequate warnings, Roundup® products were defective and

unreasonably dangerous when they left the possession and/or control of Monsanto, were distributed,

marketed, and promoted by Monsanto, and used by Plaintiff in the maintenance of his farms (owned

and leased), home and property.

       136.      Monsanto is liable to Plaintiff for injuries caused by their negligent or willful failure,

as described above, to provide adequate warnings or other clinically relevant information and data

regarding the appropriate use of these products and the risks associated with the use of or exposure to

Roundup® and glyphosate.

       137.      The defects in Roundup® products caused or contributed to cause Plaintiff’s injuries,

and, but for this misconduct and omissions, Plaintiff would not have sustained his injuries.

       138.      Had Monsanto provided adequate warnings and instructions and properly disclosed and

disseminated the risks associated with Roundup® products, Plaintiff could have avoided the risk of

developing injuries as alleged herein.

       139.      As a direct and proximate result of Monsanto placing defective Roundup® products into

the stream of commerce, Plaintiff has suffered severe injuries and have endured physical pain and

discomfort, as well as economic hardship, including considerable financial expenses for medical care

and treatment.

         WHEREFORE, Plaintiff prays for judgment against Defendant in such sum as is fair and

 reasonable, including:

                 (i)    Awarding compensatory damages in excess of the jurisdictional amount,
                        including, but not limited to pain, suffering, emotional distress, loss of
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                        enjoyment of life, loss of consortium, and other noneconomic damages in an
                        amount to be determined at trial of this action;

               (ii)     Awarding compensatory damages to Plaintiff for past and future damages,
                        including, but not limited to, Plaintiff’s pain and suffering and for severe and
                        permanent personal injuries sustained by the Plaintiff including health care
                        costs and economic loss;

               (iii)    Awarding economic damages in the form of medical expenses, out of pocket
                        expenses, lost earnings and other economic damages in an amount to be
                        determine at trial of this action;

               (iv)     Awarding punitive damages in an amount sufficient to both punish Defendant
                        for its misconduct and to deter such actions in the future;

               (v)      Awarding pre-judgment interest;

               (vi)     Awarding post-judgment interest;

               (vii)    Awarding Plaintiff their reasonable attorney fees;

               (viii) Awarding Plaintiff the costs of these proceedings; and

               (ix)     Awarding Plaintiff such other and future relief as this Court deems just and
                        proper.

                                   THIRD CAUSE OF ACTION:
                                        NEGLIGENCE

       140.    Plaintiff incorporate by reference all previous paragraphs of this Complaint as if fully

set forth herein and further allege as follows:

       141.    Monsanto, directly or indirectly, caused Roundup® products to be sold, distributed,

packaged, labeled, marketed, promoted, and/or used by Plaintiff.

       142.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable care

in the design, research, manufacture, marketing, advertisement, supply, promotion, packaging, sale,

and distribution of Roundup® products, including the duty to take all reasonable steps necessary to

manufacture, promote, and/or sell a product that was not unreasonably dangerous to consumers and

users of the product.
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       143.    At all times relevant to this litigation, Monsanto s had a duty to exercise reasonable care

in the marketing, advertisement, and sale of the Roundup® products. Monsanto’s duty of care owed to

consumers and the general public included providing accurate, true, and correct information

concerning the risks of using Roundup® and appropriate, complete, and accurate warnings concerning

the potential adverse effects of exposure to Roundup®, and, in particular, its active ingredient

glyphosate.

       144.    At all times relevant to this litigation, Monsanto knew or, in the exercise of reasonable

care, should have known of the hazards and dangers of Roundup® and specifically, the carcinogenic

properties of the chemical glyphosate.

       145.    Accordingly, at all times relevant to this litigation, Monsanto knew or, in the exercise

of reasonable care, should have known that use of or exposure to its Roundup® products could cause

or be associated with Plaintiff’s injuries and thus created a dangerous and unreasonable risk of injury

to the users of these products, including Plaintiff.

       146.    Monsanto also knew or, in the exercise of reasonable care, should have known that

users and consumers of Roundup® were unaware of the risks and the magnitude of the risks associated

with use of and/or exposure to Roundup® and glyphosate-containing products.

       147.    As such, Monsanto breached the duty of reasonable care and failed to exercise ordinary

care in the design, research, development, manufacture, testing, marketing, supply, promotion,

advertisement, packaging, sale, and distribution of its Roundup® products, in that Monsanto

manufactured, marketed, promoted, and sold defective herbicides containing the chemical glyphosate,

knew or had reason to know of the defects inherent in these products, knew or had reason to know that

a user’s or consumer’s exposure to the products created a significant risk of harm and unreasonably

dangerous side effects, and failed to prevent or adequately warn of these risks and injuries.
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       148.   Despite an ability and means to investigate, study, and test these products and to

provide adequate warnings, Monsanto has failed to do so. Indeed, Monsanto has wrongfully concealed

information and have further made false and/or misleading statements concerning the safety and/or

exposure to Roundup® and glyphosate.

       149.   Monsanto was negligent in the following respects:

              a.     Manufacturing, producing, promoting, formulating, creating, developing,
                     designing, selling, and/or distributing its Roundup® products without thorough
                     and adequate pre- and post-market testing;

              b.     Manufacturing, producing, promoting, formulating, creating, developing,
                     designing, selling, and/or distributing Roundup® while negligently and/or
                     intentionally concealing and failing to disclose the results of trials, tests, and
                     studies of exposure to glyphosate, and, consequently, the risk of serious harm
                     associated with human use of and exposure to Roundup®;

              c.     Failing to undertake sufficient studies and conduct necessary tests to determine
                     whether or not Roundup® products and glyphosate- containing products were
                     safe for their intended use in agriculture and horticulture;

              d.     Failing to use reasonable and prudent care in the design, research, manufacture,
                     and development of Roundup® products so as to avoid the risk of serious harm
                     associated with the prevalent use of Roundup®/glyphosate as an herbicide;

              e.     Failing to design and manufacture Roundup® products so as to ensure they
                     were at least as safe and effective as other herbicides on the market;

              f.     Failing to provide adequate instructions, guidelines, and safety precautions to
                     those persons who Monsanto could reasonably foresee would use and be
                     exposed to its Roundup® products;

              g.     Failing to disclose to Plaintiff, users/consumers, and the general public that use
                     of and exposure to Roundup® presented severe risks of cancer and other grave
                     illnesses;

              h.     Failing to warn Plaintiff, consumers, and the general public that the product’s
                     risk of harm was unreasonable and that there were safer and effective
                     alternative herbicides available to Plaintiff and other consumers;

              i.     Systematically suppressing or downplaying contrary evidence about the risks,
                     incidence, and prevalence of the side effects of Roundup® and glyphosate-
                     containing products;
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               j.      Representing that its Roundup® products were safe for their intended use when,
                       in fact, Monsanto knew or should have known that the products were not safe
                       for their intended purpose;

               k.      Declining to make or propose any changes to Roundup® products’ labeling or
                       other promotional materials that would alert the consumers and the general
                       public of the risks of Roundup® and glyphosate;

               l.      Advertising, marketing, and recommending the use of the Roundup® products,
                       while concealing and failing to disclose or warn of the dangers known by
                       Monsanto to be associated with or caused by the use of or exposure to
                       Roundup® and glyphosate;

               m.      Continuing to disseminate information to its consumers, which indicate or
                       imply that Monsanto’s Roundup® products are not unsafe for use in the
                       agricultural and horticultural industries; and

               n.      Continuing the manufacture and sale of its products with the knowledge that the
                       products were unreasonably unsafe and dangerous.

       150.    Monsanto knew and/or should have known that it was foreseeable that consumers such

as Plaintiff would suffer injuries as a result of Monsanto’s failure to exercise ordinary care in the

manufacturing, marketing, promotion, labeling, distribution, and sale of Roundup®.

       151.    Plaintiff did not know the nature and extent of the injuries that could result from the

intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

       152.    Monsanto’s negligence was the proximate cause of the injuries, harm, and economic

losses that Plaintiff suffered, as described herein.

       153.    Monsanto’s conduct, as described above, was reckless. Monsanto regularly risked the

lives of consumers and users of their products, including Plaintiff, with full knowledge of the dangers

of these products. Monsanto has made conscious decisions not to redesign, re-label, warn, or inform

the unsuspecting public, including Plaintiff. Monsanto’s reckless conduct therefore warrants an award

of aggravated or punitive damages.

       154.    Furthermore, at all times herein mentioned, Defendant Monsanto was subject to

federal, state, and local laws, rules, regulations, and ordinances concerning the manufacture, design,
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testing, production, processing, assembling, inspection, research, promotion, advertising, distribution,

marketing, promotion, labeling, packaging, preparation for use, consulting, sale, warning, and post-

sale warning and other communications of the risks and dangers of the Defendant’s Roundup®

products.

       155.    By reason of its conduct as alleged herein, the Defendant violated provisions of statutes

and regulations, including but not limited to:

               a.      The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C.
                       § 136 et seq, as enumerated in Paragraphs 33 through 38 above.

               b.      The Texas Deceptive Practices Act, Texas Business & Commerce Code §§
                       17.01, et seq., as enumerated in Paragraphs 159-169 below.

               c.      The Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq., as enumerated
                       in Paragraphs 196-206 below.

       156.    These and other applicable statutes, rules, and regulations are designed to protect the

health, safety, and well-being of consumers like the Plaintiff.

       157.    The Defendant’s violations of these and other applicable statutes, rules, and regulations

constitute negligence per se and a willful, reckless, and wanton disregard for life.

       158.    As a proximate result of Monsanto’s wrongful acts and omissions in placing defective

Roundup® products into the stream of commerce without adequate warnings of the hazardous and

carcinogenic nature of glyphosate, Plaintiff has suffered severe and permanent physical and emotional

injuries. Plaintiff has endured pain and suffering, and have suffered economic losses (including

significant expenses for medical care and treatment) in an amount to be determined.

         WHEREFORE, Plaintiff prays for judgment against Defendant in such sum as is fair and

 reasonable, including:

               (i)     Awarding compensatory damages in excess of the jurisdictional amount,
                       including, but not limited to pain, suffering, emotional distress, loss of
                       enjoyment of life, loss of consortium, and other noneconomic damages in an
                       amount to be determined at trial of this action;
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               (ii)      Awarding compensatory damages to Plaintiff for past and future damages,
                         including, but not limited to, Plaintiff’s pain and suffering and for severe and
                         permanent personal injuries sustained by the Plaintiff including health care
                         costs and economic loss;

               (iii)     Awarding economic damages in the form of medical expenses, out of pocket
                         expenses, lost earnings and other economic damages in an amount to be
                         determine at trial of this action;

               (iv)      Awarding punitive damages in an amount sufficient to both punish Defendant
                         for its misconduct and to deter such actions in the future;

               (v)       Awarding pre-judgment interest;

               (vi)      Awarding post-judgment interest;

               (vii)     Awarding Plaintiff their reasonable attorney fees;

               (viii) Awarding Plaintiff the costs of these proceedings; and

               (ix)      Awarding Plaintiff such other and future relief as this Court deems just and
                         proper.

                                FOURTH CAUSE OF ACTION:
                       FRAUD, MISREPRESENTATION, AND SUPPRESSION

       159.    Plaintiff incorporate by reference all previous paragraphs of this Complaint as if fully

set forth herein, particularly Paragraphs 64-80 above which detail fraud with specificity, and further

allege as follows:

       160.    Defendant fraudulently, intentionally, and/or negligently misrepresented to the public,

and to the Plaintiff, both directly and by and through the media, the scientific literature and purported

“community outreach” programs, the safety of Roundup® products, and/or fraudulently, intentionally,

and/or negligently concealed, suppressed, or omitted material, adverse information regarding the

safety of Roundup®.

       161.    The intentional and/or negligent misrepresentations and omissions of Defendant

regarding the safety of Roundup® products were communicated to Plaintiff directly through

ghostwritten articles, editorials, national and regional advertising, marketing and promotion efforts,

as well as the packaging and sales aids. The safety of Roundup® products was also intentionally and/or
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negligently misrepresented to Plaintiff and the public with the intent that such misrepresentations

would cause Plaintiff and other potential consumers to purchase and use or continue to purchase and

use Roundup® products.

       162.    Defendant either knew or should have known of the material representations they were

making regarding the safety and relative utility of Roundup® products.

       163.    Defendant fraudulently, intentionally, and/or negligently made the misrepresentations

and/or actively concealed, suppressed, or omitted this material information with the specific desire to

induce Plaintiff, and the consuming public to purchase and use Roundup® products. Defendant

fraudulently, intentionally, and/or negligently, knew or should have known that Plaintiff and the

consuming public would rely on such material misrepresentations and/or omissions in selecting and

applying Roundup® products. Defendant knew or should have known that Plaintiff would rely on

their false representations and omissions.

       164.    Defendant made these misrepresentations and actively concealed adverse information

including the risk of Non-Hodgkin’s Lymphoma, at a time when, their agents and/or employees knew

or should have known, the product had defects, dangers, and characteristics that were other than what

was represented to the consuming public. Specifically, Osborn & Barr, Defendant’s advertising

agency, misrepresented and actively concealed, suppressed, and omitted that there had been

inadequate testing of the safety and efficacy of Roundup®, and that prior studies, research, reports,

and/or testing had been conducted linking the use of the drug with serious health events, including

Non- Hodgkin’s Lymphoma.

       165.    Despite the fact that Defendant knew or should have known of reports of severe risks

including Non-Hodgkin’s Lymphoma, with Roundup® use and exposure, this information was

strategically minimized, understated, or omitted in order to create the impression that the human

dangers of Roundup® were nonexistent, particularly in light of its purported utility.
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          166.   The fraudulent, intentional and/or negligent material misrepresentations and/or active

concealment, suppression, and omissions by Defendant were perpetuated directly and/or indirectly

through the advertisements, packaging, sales aids, furtive public relations efforts, and other marketing

and promotional pieces authored, analyzed, created, compiled, designed, drafted, disseminated,

distributed, edited, evaluated, marketed, published, and supplied by Osborn & Barr.

          167.   If Plaintiff had known the true facts concerning the risks associated with Roundup®

exposure, Plaintiff would not have used Roundup® and would have used a safer alternative.

          168.   Plaintiff’s reliance upon the material misrepresentations and omissions was justified,

among other reasons, because said misrepresentations and omissions were made by individuals and

entities who were in a position to know the true facts concerning Roundup® while Plaintiff was not in

a position to know the true facts because Defendant overstated the benefits and safety of Roundup®

and downplayed the risk of lymphoma, thereby inducing Plaintiff to use the herbicide rather than safer

alternatives.

          169.   As a direct and proximate result of Defendant’s actions and inactions, Plaintiff was

exposed to Roundup® and suffered and will continue to suffer injuries and damages, as set forth

herein.

           WHEREFORE, Plaintiff prays for judgment against Defendant in such sum as is fair and

 reasonable, including:

                 (i)    Awarding compensatory damages in excess of the jurisdictional amount,
                        including, but not limited to pain, suffering, emotional distress, loss of
                        enjoyment of life, loss of consortium, and other noneconomic damages in an
                        amount to be determined at trial of this action;

                 (ii)   Awarding compensatory damages to Plaintiff for past and future damages,
                        including, but not limited to, Plaintiff’s pain and suffering and for severe and
                        permanent personal injuries sustained by the Plaintiff including health care
                        costs and economic loss;
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               (iii)   Awarding economic damages in the form of medical expenses, out of pocket
                       expenses, lost earnings and other economic damages in an amount to be
                       determine at trial of this action;

               (iv)    Awarding punitive damages in an amount sufficient to both punish Defendant
                       for its misconduct and to deter such actions in the future;

               (v)     Awarding pre-judgment interest;

               (vi)    Awarding post-judgment interest;

               (vii)   Awarding Plaintiff their reasonable attorney fees;

               (viii) Awarding Plaintiff the costs of these proceedings; and

               (ix)    Awarding Plaintiff such other and future relief as this Court deems just and
                       proper.

                                 FIFTH CAUSE OF ACTION:
                              BREACH OF EXPRESS WARRANTY

       170.    Plaintiff incorporate by reference all previous paragraphs of this Complaint as if fully

set forth herein and further allege as follows:

       171.    At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting its Roundup®

products, which are defective and unreasonably dangerous to consumers, including Plaintiff, thereby

placing Roundup® products into the stream of commerce. These actions were under the ultimate

control and supervision of Defendant.

       172.    At all times relevant to this litigation, Defendant expressly represented and warranted

to the purchasers of its Roundup® products, by and through statements made by Defendant in labels,

publications, package inserts, and other written materials intended for consumers and the general

public, that its Roundup® products were safe to human health and the environment, effective, fit, and

proper for their intended use. Defendant advertised, labeled, marketed, and promoted Roundup®

products, representing the quality to consumers and the public in such a way as to induce their purchase
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or use, thereby making an express warranty that its Roundup® products would conform to the

representations.

       173.    These express representations include incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

Roundup® and glyphosate. Defendant knew and/or should have known that the risks expressly

included in Roundup® warnings and labels did not and do not accurately or adequately set forth the

risks of developing the serious injuries complained of herein. Nevertheless, Defendant expressly

represented that its Roundup® products were safe and effective, that they were safe and effective for

use by individuals such as Plaintiff, and/or that they were safe and effective as agricultural herbicides.

       174.    The representations about Roundup®, as set forth herein, contained or constituted

affirmations of fact or promises made by the seller to the buyer, which related to the goods and became

part of the basis of the bargain, creating an express warranty that the goods would conform to the

representations.

       175.    Defendant placed its Roundup® products into the stream of commerce for sale and

recommended their use to consumers and the public without adequately warning of the true risks of

developing the injuries associated with the use of and exposure to Roundup® and its active ingredient

glyphosate.

       176.    Defendant breached these warranties because, among other things, its Roundup®

products were defective, dangerous, unfit for use, did not contain label representing the true and

adequate nature of the risks associated with their use, and were not merchantable or safe for their

intended, ordinary, and foreseeable use and purpose. Specifically, Defendant breached the warranties

in the following ways:

               a.        Defendant represented through its labeling, advertising, and marketing
                         materials that its Roundup® products were safe, and fraudulently withheld and
                         concealed information about the risks of serious injury associated with use of
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                          and/or exposure to Roundup® and glyphosate by expressly limiting the risks
                          associated with use and/or exposure within its warnings and labels; and

               b.         Defendant represented that its Roundup® products were safe for use and
                          fraudulently concealed information that demonstrated that glyphosate, the
                          active ingredient in Roundup®, had carcinogenic properties, and that its
                          Roundup® products, therefore, were not safer than alternative available on the
                          market.

       177.    Defendant had sole access to material facts concerning the nature of the risks associated

with its Roundup® products as expressly stated within its warnings and labels, and Defendant knew

that consumers and users such as Plaintiff could not have reasonably discovered that the risks expressly

included in Roundup® warnings and labels were inadequate and inaccurate.

       178.    Plaintiff had no knowledge of the falsity or incompleteness of Defendant’s statements

and representations concerning Roundup®.

       179.    Plaintiff used and/or was exposed to the use of Roundup® as researched, developed,

designed, tested, formulated, manufactured, inspected, labeled, distributed, packaged, marketed,

promoted, sold, or otherwise released into the stream of commerce by Defendant.

       180.    Had the warnings and labels for Roundup® products accurately and adequately set forth

the true risks associated with the use of such products, including Plaintiff’s injuries, rather than

expressly excluding such information and warranting that the products were safe for their intended

use, Plaintiff could have avoided the injuries complained of herein.

       181.    As a direct and proximate result of Defendant’s wrongful acts and omissions, Plaintiff

has suffered severe injuries. Plaintiff has endured pain and suffering, have suffered economic losses

(including significant expenses for medical care and treatment), and will continue to incur these

expenses in the future.

         WHEREFORE, Plaintiff prays for judgment against Defendant in such sum as is fair and

 reasonable, including:
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               (i)     Awarding compensatory damages in excess of the jurisdictional amount,
                       including, but not limited to pain, suffering, emotional distress, loss of
                       enjoyment of life, loss of consortium, and other noneconomic damages in an
                       amount to be determined at trial of this action;

               (ii)    Awarding compensatory damages to Plaintiff for past and future damages,
                       including, but not limited to, Plaintiff’s pain and suffering and for severe and
                       permanent personal injuries sustained by the Plaintiff including health care
                       costs and economic loss;

               (iii)   Awarding economic damages in the form of medical expenses, out of pocket
                       expenses, lost earnings and other economic damages in an amount to be
                       determine at trial of this action;

               (iv)    Awarding punitive damages in an amount sufficient to both punish Defendant
                       for its misconduct and to deter such actions in the future;

               (v)     Awarding pre-judgment interest;

               (vi)    Awarding post-judgment interest;

               (vii)   Awarding Plaintiff their reasonable attorney fees;

               (viii) Awarding Plaintiff the costs of these proceedings; and

               (ix)    Awarding Plaintiff such other and future relief as this Court deems just and
                       proper.

                            SIXTH CAUSE OF ACTION:
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       182.    Plaintiff incorporate by reference all previous paragraphs of this Complaint as if fully

set forth herein and further allege as follows:

       183.    At all times relevant to this litigation, Defendant engaged in the business of testing,

developing, designing, formulating, manufacturing, marketing, selling, distributing, and promoting its

Roundup® products, which are defective and unreasonably dangerous to users and consumers,

including Plaintiff, thereby placing Roundup® products into the stream of commerce.

       184.    These actions were under the ultimate control and supervision of Defendant.

       185.    Before the time that Plaintiff was exposed to the use of the aforementioned Roundup®

products, Defendant impliedly warranted to its consumers and users, including Plaintiff, that its
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Roundup® products were of merchantable quality and safe and fit for the use for which they were

intended; specifically, as horticultural herbicides.

       186.    Defendant, however, failed to disclose that Roundup® has dangerous propensities

when used as intended and that the use of and/or exposure to Roundup® and glyphosate-containing

products carries an increased risk of developing severe injuries, including Plaintiff’s injuries.

       187.    Upon information and belief, Plaintiff reasonably relied upon the skill, superior

knowledge and judgment of Defendant and upon its implied warranties that the Roundup® products

were of merchantable quality and fit for their intended purpose or use.

       188.    The Roundup® products were expected to reach and did in fact reach consumers and

users, including Plaintiff, without substantial change in the condition in which they were manufactured

and sold by Defendant.

       189.    At all times relevant to this litigation, Defendant was aware that consumers and users

of its products, including Plaintiff, would use Roundup® products as marketed by Defendant, which is

to say that Plaintiff was the foreseeable user of Roundup®.

       190.    Defendant intended that its Roundup® products be used in the manner in which

Plaintiff in fact used them and Defendant impliedly warranted each product to be of merchantable

quality, safe, and fit for this use, despite the fact that Roundup® was not adequately tested or

researched.

       191.    In reliance upon Defendant’s implied warranty, Plaintiff used Roundup® as instructed

and labeled and in the foreseeable manner intended, recommended, promoted and marketed by

Defendant.

       192.    Plaintiff could not have reasonably discovered or known of the risks of serious injury

associated with Roundup® or glyphosate.
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       193.    Defendant breached its implied warranty to Plaintiff in that its Roundup® products

were not of merchantable quality, safe, or fit for their intended use, or adequately tested. Roundup®

has dangerous propensities when used as intended and can cause serious injuries, including those

injuries complained of herein.

       194.    The harm caused by Defendant’s Roundup® products far outweighed their benefit,

rendering the products more dangerous than an ordinary consumer or user would expect and more

dangerous than alternative products.

       195.    As a direct and proximate result of Defendant’s wrongful acts and omissions Plaintiff

has suffered severe and permanent physical and emotional injuries. Plaintiff has endured pain and

suffering, have suffered economic loss (including significant expenses for medical care and treatment)

and will continue to incur these expenses in the future.

         WHEREFORE, Plaintiff prays for judgment against Defendant in such sum as is fair and

 reasonable, including:

               (i)     Awarding compensatory damages in excess of the jurisdictional amount,
                       including, but not limited to pain, suffering, emotional distress, loss of
                       enjoyment of life, loss of consortium, and other noneconomic damages in an
                       amount to be determined at trial of this action;

               (ii)    Awarding compensatory damages to Plaintiff for past and future damages,
                       including, but not limited to, Plaintiff’s pain and suffering and for severe and
                       permanent personal injuries sustained by the Plaintiff including health care
                       costs and economic loss;

               (iii)   Awarding economic damages in the form of medical expenses, out of pocket
                       expenses, lost earnings and other economic damages in an amount to be
                       determine at trial of this action;

               (iv)    Awarding punitive damages in an amount sufficient to both punish Defendant
                       for its misconduct and to deter such actions in the future;

               (v)     Awarding pre-judgment interest;

               (vi)    Awarding post-judgment interest;

               (vii)   Awarding Plaintiff their reasonable attorney fees;
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               (viii) Awarding Plaintiff the costs of these proceedings; and

               (ix)      Awarding Plaintiff such other and future relief as this Court deems just and
                         proper.

                           SEVENTH CAUSE OF ACTION:
                VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT

       196.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if fully

set forth herein and further allege as follows:

       197.    Plaintiff brings this cause of action pursuant to the private right of action of the

Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       198.    Defendant’s Roundup® products are “consumer products” within the meaning of 15

U.S.C. § 2301(1).

       199.    Plaintiff Donnie Leon Powell is a “consumer” within the meaning of 15 U.S.C. §

2301(3).

       200.    Defendant Monsanto Company is a supplier and warrantor within the meaning of 15

U.S.C. § 2301(4), (5).

       201.    In connection with the sale of its Roundup® products, Defendant gave multiple

warranties that the products were safe for use as horticultural herbicides.

       202.    Defendant breached these written warranties because its Roundup® products are not,

in fact, safe. The products at issue here do not live up to the Defendant’s express warranties.

       203.    In connection with the sale of its Roundup® products, Defendant also gave multiple

implied warranties as defined in 15 U.S.C. § 2301(7), including but not limited to the implied warranty

of merchantability and the implied warranty of fitness for a particular purpose.

       204.    Defendant breached these implied warranties, in that its Roundup® products are not fit

for the ordinary purpose for which they are used, namely as horticultural herbicides.
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       205.    Plaintiff Donnie Leon Powell was injured as a direct and proximate result of

Defendant’s breach of its warranties because Plaintiff: (a) would not have purchased the product if he

had known that the product did not have the characteristics or qualities as impliedly warranted by

Defendant; (b) paid a premium price for the Roundup® Product as a result of Defendant’s false

warranties and misrepresentations; and (c) purchased a product that did not have the safe and harmless

characteristics, qualities, or value promised by Defendant.

       206.    Plaintiff has incurred and will incur attorneys’ fees in prosecuting this action, for which

Defendant is liable under 15 U.S.C. § 2310(d)(2).

        WHEREFORE, Plaintiff prays for judgment against Defendant in such sum as is fair and

 reasonable, including:

               (i)     Awarding compensatory damages in excess of the jurisdictional amount,
                       including, but not limited to pain, suffering, emotional distress, loss of
                       enjoyment of life, loss of consortium, and other noneconomic damages in an
                       amount to be determined at trial of this action;

               (ii)    Awarding compensatory damages to Plaintiff for past and future damages,
                       including, but not limited to, Plaintiff’s pain and suffering and for severe and
                       permanent personal injuries sustained by the Plaintiff including health care
                       costs and economic loss;

               (iii)   Awarding economic damages in the form of medical expenses, out of pocket
                       expenses, lost earnings and other economic damages in an amount to be
                       determine at trial of this action;

               (iv)    Awarding punitive damages in an amount sufficient to both punish Defendant
                       for its misconduct and to deter such actions in the future;

               (v)     Awarding pre-judgment interest;

               (vi)    Awarding post-judgment interest;

               (vii)   Awarding Plaintiff their reasonable attorney fees;

               (viii) Awarding Plaintiff the costs of these proceedings; and

               (ix)    Awarding Plaintiff such other and future relief as this Court deems just and
                       proper.
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                             DEMAND FOR JURY TRIAL

   Plaintiff hereby demands trial by jury as to all issues.

   Dated: July 17, 2020.


                                          Respectfully submitted,



                                          /s/ Vincent P. Circelli
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